Case 1:22-cr-20326-KMM Document 40 Entered on FLSD Docket 01/12/2023 Page 1of1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MINUTE ORDER Page 2
Magistrate Judge Melissa Damian
Atkins Building Courthouse - 5th Floor Date: 1/11/2023 Time: 1:30 p.m.

Defendant: ANDRE LORQUET J#: 07721-506 Case #: 22-CR-20326-MOORE
aus: Jmathan PBailyn Attorney: ZELIKA BOZANIC (Perm )
Violation: PRETRIAL RELEASE VIOLATION Surr/Arrest Date: 1/10/2023  YOB: 1984
Proceeding: Initial Appearance CJA Appt:
Bond/PTD Held: © Yes No Recommended Bond: .
Bond Set at: Co-signed by:

~J} Surrender and/or do not obtain passports/travel docs Language: ENG lo},

Report to PTS as directed/or x’s a week/month by IDisposition:

— phone: -x’s a week/month in person

 

Random urine testing by Pretrial 7
‘| Services Detend ant ad V. ist of
Treatment as deemed necessary , i i Nts + ChargeJ

Refrain from excessive use of alcohol

; Participate in mental health assessment & treatment . No Borda due do ,
'| Maintain or seek full-time employment/education Judge Moore ‘5 Ordér

| No contact with victims/witnesses, except through counsel

= No firearms Acll furthur proceed in|

 

 

 

 

 

 

 

 

 

 

 

 

 

i... i SF
)} Not to encumber property . before. Judge Move.
| May not visit transportation establishments Fj -
Home Confinement/Electronic Monitoring and/or COUNSEL LEMKA vanic
= Curfew pm to- am, paid by p resen+ In 7 OM t

 

Allowances: Medical needs, court appearances, attorney visits,

religious, employment - ILIS0 diene) Nava present

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Travel extended to: Time from today to excluded
Other: from Speedy Trial Clock.
NEXT COURT APPEARANCE pate: Time: judge: Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.ALR. IZ SLO Time in Court: lo mins

 

SE DEUE Sioa conacaes :s/Melissa Damian: osc cencatareccek un.MagistrateJudgeses vo.
